Case 1:08-cv-00461-DME-CBS Document 85 Filed 10/07/08 USDC Colorado Page 1 of 3




                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

     Civil Action No.: 08-cv-00461-DME-CBS


     MARION FACUNDO BORREGO BRIONES, et al.,                                 Donald J. Kaufman
                                                                             Bruce C. Anderson
     Plaintiffs,

     v.

     JNS CONSTRUCTION SERVICES, LLC, et al.,                                 C. Adam Foster
                                                                             Kristi L. Blumhardt
     Defendants.                                                             Charles J. Kimball


            RESPONSE OF LENO & COMPANY, LLC AND LENO ASEUDO TO
               MOTION TO ENFORCE THE SETTLEMENT AGREEMENT
                           AND FOR OTHER RELIEF




             COMES NOW Defendants, Leno & Company, LLC, and Leno Aseudo, by their

     attorneys, Charles J. Kimball, Kimball & Nespor, P.C, and file their Response to

     Plaintiffs’ Motion to Enforce the Settlement Agreement and for Other Relief.


             The Mexican worker Plaintiffs contend in their Motion that the Defendants acted

     in bad faith, abused the judicial process and that their failure to pay Plaintiffs is

     inexcusable and unacceptable.


             Plaintiffs’ contentions are clearly not true as to these replying Defendants. Their

     counsel made it clear at the settlement conference, including the on the record portion,

     that these two Defendants did not have funds to pay toward the settlement. It was clear,

     at the conference, that the settlement funds would come from the other Defendants.
Case 1:08-cv-00461-DME-CBS Document 85 Filed 10/07/08 USDC Colorado Page 2 of 3




                The business of these replying Defendants was destroyed as a result of Plaintiffs’

     actions and these Defendants have no funds to pay toward settlement.


                No attorney’s fees or costs should be assessed against these replying Defendants.

     They have not acted in bad faith.


                The non-payment has resulted from the inability or failure of the other Defendants

     so far to raise the settlement funds.


                Dated this 7th day of October, 2008.


     Original signature on file and and available for viewing at the

     office of Kimball & Nespor, P.C.

     /s/ Charles J. Kimball
     _______________________________
     Charles J. Kimball
     Kimball & Nespor, P.C.
     5400 Ward Road, Building III, #150
     Arvada, CO 80002
     303-940-3335
     303-940-8832 (fax)
     knpc@qwestoffice.net



                                                CERTIFICATE OF SERVICE

     I hereby certify that on this Tuesday, October 7, 2008, I electronically filed the foregoing
     with the Clerk of the Court using the CM/ECF system which will send notification of
     such filing to the following e- mail addressed:

     Donald J. Kaufman
     Kaufman & Kaufman, LLC
     Penrose Plaza
     2520 South Grand Ave nue, Suite 110
     Glenwood Springs, Colorado 81601-4195
     970-947-1776
     970-384-1776 (fax)
     donkaufman@glenwoodattorney.com


                                                                       2
Case 1:08-cv-00461-DME-CBS Document 85 Filed 10/07/08 USDC Colorado Page 3 of 3




     Victor M. Morales
     McElroy, Deutsch, Mulvaney & Carpenter, LLP-Denver
     1700 Broadway
     Mile High Center
     #1900
     Denver, CO 80290-1901
     303-293-8800
     303-839-0036 (fax)
     vmorales@mdmlawco.com

     C. Adam Foster
     McElroy, Deutsch, Mulvaney & Carpenter, LLP-Denver
     1700 Broadway
     Mile High Center #1900
     Denver, CO 80290-1901
     303-293-8800
     303-839-0036 (fax)
     afoster@mdmlawco.com

     Kristi Lynn Blumhardt
     McElroy, Deutsch, Mulvaney & Carpenter, LLP-Denver
     1700 Broadway
     Mile High Center #1900
     Denver, CO 80290-1901
     303-293-8800
     303-839-0036 (fax)
     kblumhardt@mdmlawco.com

     Bruce Charles Anderson
     Stettner Miller, P.C.
     1050 17th Street
     Independence Plaza #700
     Denver, CO 80265-2008
     303-534-0273
     303-534-5036 (fax)
     banderson@stetmil.com


                                            Original signature on file and and available for viewing at the

                                            office of Kimball & Nespor, P.C.

                                            /s/ Charles J. Kimball
                                            _______________________________




                                            3
